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                                   EXHIBIT 5
     Fwd: Suspension of the sex offender groups and termination of the Second Change Act
     grant

     From: Dr. Fred Nance Jr. (drfred.nancejr@gmail.com)

     To:     michael.dever@usdoj.gov; andre.bethea@usdoj.gov; tracey.willis@usdoj.gov; jwilliams@air.org;
             ronald.howard@cookcountyil.gov; jane.gubser@cookcountyil.gov; patricia.grosskopf@illinois.gov; sarah.brown-
             foiles@illinois.gov; dion.dixon@illinois.gov; josie.ware@mail.house.gov; tumia.romero@mail.house.gov

     Cc:     drfred.nancejr@gmail.com; frednance@clickservices.org

     Date: Monday, September 21, 2020, 08:54 PM CDT



     On September 21, 2020, I received the email above and below from Dr. Hattie Wash dissolving the Second Chance Act
     grant #2018-CY-BX-0025. As Dr. Wash and I talked about her giving up the program, after I discovered her
     misappropriation of funds or fraud and talked to her about it, Dr. Wash told me since I was going to report this to DOJ,
     BJA, OJP I could take the program. I sent the email, with this statement from Dr. Wash, to DOJ, BJA, OJP's Mr. Dever,
     Mr. Bethea, and Ms. Willis. Therefore, I am requesting C.L.I.C.K. Services, NFP become responsible for the grant to its
     end on September 30, 2021.

     There should be no barriers or reasons why I cannot take over the grant. Dr. Wash and I wrote the proposal. I am the
     Program Director. I created all of our collaborative partners for this grant. Dr. Wash and I created and developed the
     curricula for this program. I know every part of this program. I partnered with Dr. Wash on this grant. Dr. Wash and I
     decided she would be the fiduciary and I would handle the day-to-day operation as the Program Director. It was my
     understanding we were equal partners. Dr. Wash just handled the flow of money for the grant. Read our SCA abstract
     and proposal for this grant, which is attached.

     As reported in our abstract and proposal (pp. 17-18) (attached), EMAGES, Inc & C.L.I.C.K. Services, NFP collaborated
     and partnered for this grant. I am more than capable of finishing out this grant. This move by Dr. Wash is retaliatory in
     nature toward me for filing the 3 Whistleblower complaints with the Department of Justice, Bureau of Justice Assistance,
     Office of Justice Programs, and the U.S. Office of Inspector General for misappropriation of funds or fraud. As I have
     stated in my Whistleblower complaints, my employment is protected by the Whistleblower Act. My Whistleblower
     complaints are attached.

     Dr. Wash's dilemma with her funding from the State of Illinois is not the first time this has happened to EMAGES.
     EMAGES has closed programs before because of Illinois State funding. There is no reason this grant cannot continue to
     move forward under the direction of C.L.I.C.K. Services, NFP (www.clickservices.org). Grant #2018-CY-BX-0025 is
     funded. I can still work with the Illinois Department of Corrections (post-release prison) and the Cook County
     Department of Corrections (pre-release jail).I am in the process of creating and developing a 90-day transitional house
     for sex offenders. I can run the grant from this project. The housing program is being created under C.L.I.C.K. Housing,
     Inc. My 'brief' housing project proposal is attached. I created this proposal for Illinois and Chicago legislators seeking
     support for my housing project. Congressman Davis has given me a Letter of Support for my housing project, which is
     attached. I can provide more details in line with a regular SCA proposal for how the program will work if necessary.

     The reasoning Dr. Wash uses for giving the grant back is ludicrous. Grant #2018-CY-BX-0025 is funded and is not
     affected by the lack of Illinois State funding Dr. Wash alludes too. The grant funding covers participant cost because
     there is no participant cost. The grant covers contractual fees for all mentors and staff of the grant, which is listed in the
     grant budget. Our budget takes care of office space and other ancillary functions and needs. Dr. Wash is lumping the
     grant program in with her State dilemma to retaliate against me for filing my Whistleblower complaints. The only reason
     Dr. Wash is giving the program back to OJP is to hurt me for filing the 3 Whistleblower complaints.

     WHEREFORE, I am requesting a teleconference audience with Mr. Michael Dever, BJA Division Chief; Mr. Andre
     Bethea, BJA Senior Policy Advisor; and Ms. Tracey Willis, OJP Grant Manager; or in the alternative, a transfer of
     responsibility for Grant #2018-CY-BX-0025. Please respond. Thank you.

     Respectfully submitted

     ---------- Forwarded message ---------
     From: Hattie Wash <washhattie@gmail.com>


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     Date: Mon, Sep 21, 2020 at 7:28 PM
                                                        EXHIBIT 5
     Subject: Suspension of the sex offender groups and termination of the Second Change Act grant
     To: Gerri Taylor <tgerri99@yahoo.com>, mitzi scott <mitziscott10@yahoo.com>, curtis slate <curtiscurtis47@aol.com>,
     Sheila Chew <sacpoiple1@gmail.com>, <shudson305@hotmail.com>, Jean Daniel <Daniel_Jean716@yahoo.com>,
     marcie collins <marcie_93@yahoo.com>, Chad Ellis <seragi73@yahoo.com>, Eleanor Harris
     <eleanorharris98@yahoo.com>, Edward Butler <dr_ebutler@yahoo.com>, Jamie Enge <jamiee425@gmail.com>, Dr.
     Fred Nance Jr. <drfred.nancejr@gmail.com>, valerie minor <vminor2018@gmail.com>, LORI ORTIZ
     <loriortiz6199@comcast.net>, <pebsluvsgod@yahoo.com>, <earlene416@gmail.com>, <srobin21@csu.edu>, Dr.
     Karen Witherspoon <doctorwitherspoon@gmail.com>, THOMAS BRADLEY <tbacpa52@yahoo.com>,
     <trentonfedrick@yahoo.com>, <johnson_l@comcast.net>


     The Covid-19 Pandemic,the Shelter in Place Mandate by the State of Illinois, less than 15% of sex offender clients
     paying their fees as well as EMAGES not receiving a payment from the FY21 State budget which began July, 2020 has
     created an economic hardship and cash flow problem for EMAGES.

     Given the above Effective October 1, 2020 EMAGES is suspending our sex offender groups and returning the Second
     Chance Act grant back to the Office of Justice Programs. Additionally, Staff in the substance abuse programs work week
     will be reduced from a five day work week to a four day week. If funding is not received before October 1, 2020, I will not
     be able to meet EMAGES October 1, 2020 payroll for the substance abuse program and the sex offender group
     facilitators.

     I have scheduled a ZOOM meeting for Thursday September 24, 2020 at 7:00 p.m. to discuss the above changes and
     address any concerns you may have. Please let me know if you are unable to attend the meeting.

     You will receive a ZOOM login number tomorrow.
     Dr. Wash


     --
     /s/Dr. Fred Nance Jr., Ph.D.
     Human Services/Social Policy Analysis
     Program and Policy Development
     708-921-1395

             SCA Abstract.pdf
             8.9kB
             SCA Proposal.pdf
             93.5kB
             8.31.20 90 Day Transitional Housing Proposal.pdf
             128.7kB

             4.17.20 1st Whistleblower Complaint.pdf
             1MB

             8.29.20 2nd Whistleblower Complaint.pdf
             98.6kB

             9.13.20 3rd Whistleblower Complaint.pdf
             121.6kB
             1.24.20 Congressman Davis Letter of Support for Transitional Housing.pdf
             76.5kB




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                                               EXHIBIT 5
     Grant #2018-CY-BX-0025 Whistleblower Act Misappropriation of Funds and Fraud

     From: Dr. Fred L Nance Jr., Ph.D. (frednance@clickservices.org)

     To:     jin.liu@usdoj.gov; tracey.willis@usdoj.gov

     Cc:     frednance@clickservices.org; tumia.romero@mail.house.gov; josie.ware@mail.house.gov;
             andre.bethea@usdoj.gov; michael.dever@usdoj.gov; tumia@dannykdavis.com

     Date: Sunday, November 22, 2020, 04:10 PM CST



     This is a continuation message from November 15, 2020, as if fully stated herein.

     On September 21, 2020 Dr. Wash sent an email to all EMAGES, Inc. staff, all Grant #2018-CY-
     BX-0025 consultants, and to Dr. Nance stating, in part, "...The Covid-19 Pandemic, the Shelter in
     Place Mandate by the State of Illinois, less than 15% of sex offender clients paying their fees as
     well as EMAGES not receiving a payment from the FY21 State budget which began July, 2020
     has created an economic hardship and cash flow problem for EMAGES. Given the above
     Effective October 1, 2020 EMAGES is suspending our sex offender groups and returning the
     Second Chance Act grant back to the Office of Justice Programs...."

     Grant #2018-CY-BX-0025 has nothing to do with EMAGES receiving funding from the State of
     Illinois or EMAGES sex offender attendance. Grant #2018-CY-BX-0025 is fully funded. Since
     Covid-19 became an issue in March of 2020, Grant #2018-CY-BX-0025 was teleconferencing
     with the sex offender at EMAGES meeting our goals of 75 participants enrolled in the program.
     The percentages quoted of 15% by Dr. Wash had nothing to do with Grant #2018-CY-BX-0025.
     Dr. Wash gave Grant #2018-CY-BX-0025 back to the Office of Justice Programs in retaliation
     against Dr. Nance for filing 3 Whistleblower complaints against her with the Office of Justice
     Programs and others; terminating Dr. Nance's employment thus violating the Whistleblower Act.

     In October of 2020, EMAGES, Inc. and Dr. Wash continued holding teleconferencing groups with
     sex offenders. EMAGES, Inc. and Dr. Wash held sex offender groups via teleconferencing on
     November 16th, 17th, 18th, and 21st, 2020. Check the EMAGES, Inc. telephone logs, and Dr.
     Nance's cell phone logs. Dr. Nance called in to 978-990-5000 with access codes 480001# and
     581625# on each of the days mentioned above except for the Tuesday group (11/17/20). The
     Tuesday group uses another means of teleconferencing as they did when Grant #2018-CY-BX-
     0025 was still active. Each group has been in session since Dr. Wash issued the false statement
     to DOJ, BJA, OJP, SCA Consultants, and Dr. Nance, and the email of September 21, 2020.

     This is the same group of participants who were enrolled in Grant #2018-CY-BX-0025. Dr. Wash
     informed DOJ, BJA, OJP, Tracey Willis, Andre Bethea, Michael Dever, and the consultants of
     Grant #2018-CY-BX-0025 she was suspending all her sex offender groups due to the Coronavirus
     on October 1, 2020. Dr. Wash used this claim to give Grant #2018-CY-BX-0025 back to DOJ,
     BJA, OJP.

     DOJ, BJA, OJP accepted this false claim prompting Dr. Nance to lose his employment; thus
     creating the claim by Dr. Nance of retaliation and termination, which violates the Whistleblower
     Act. Dr. Nance has filed a Federal lawsuit #20-CV-06316.

     /s/Dr. Fred Nance Jr.
     Ph.D. Health & Human Services


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     Social Policy Analysis and Planning                        EXHIBIT 5
     www.clickservices.org
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     Grant #2018-CY-BX-0025                                        EXHIBIT 5
     From: Dr. Fred L Nance Jr., Ph.D. (frednance@clickservices.org)

     To:     jin.liu@usdoj.gov; tracey.willis@usdoj.gov

     Cc:     frednance@clickservices.org; andre.bethea@usdoj.gov; michael.dever@usdoj.gov; tumia.romero@mail.house.gov;
             josie.ware@mail.house.gov; tumia@dannykdavis.com

     Date: Saturday, November 28, 2020, 11:19 AM CST



     Good afternoon. EMAGES, Inc. is still holding teleconferencing groups, which I am listening to
     now, Saturday November 28, 2020, via their weekly conference call at 978-990-5000, conference
     line 581625#. I am listening to the regular participants who were attending the teleconferencing
     for this grant. Ms. Gerri Taylor is facilitating this EMAGES group. Ms. Gerri was not a consultant
     on this grant. Ms. Gerri works the Saturday group with Daniel Jean who was the clinical
     supervisor for this grant. Ms. Gerri informed the clients/participants on this call today that
     EMAGES, Inc. is closed on Thursday and Friday. Our participants for this grant attended 2 groups
     on Monday, and one group on each of these days - Tuesday, Wednesday, and Saturday. As our
     implementation plan reports, we provided 5 groups at EMAGES, Inc. Notwithstanding, we had
     made arrangements with the Cook County jail to provide teleconferencing services before Dr.
     Wash bogusly gave this grant back in retaliation for the filing of my Whistleblower complaints.

     Ms. Gerri is Dr. Hattie Wash's sister. This is her regular Saturday group at EMAGES, Inc. A client
     is talking about the upcoming group Monday reporting he will be absent and needs to make up
     the group. Ms. Gerri is stating Dr. Johnson is conducting one of the Monday groups. Dr. Johnson
     was not a consultant on this grant.

     I cannot mention the clients/participants names in this open email but you can review and
     compare the attendance sheets for this group, and the list of participants attending groups for this
     grant, which you have the list or can get access from Dr. Wash.

     Listen to the Monday group, November 30, 2020, starting at 6:30 pm using phone number 978-
     990-5000, conference lines 480001# and 581625#. The names you hear of participants attending
     the groups will match the names of participants who attended groups for this grant.

     As you know and have been informed via my email communication, Dr. Wash informed the
     consultants of this grant, Mr. Dever, Mr. Bethea, and Ms. Willis she was giving Grant #2018-CY-
     BX-0025 back to DOJ, BJA, OJP due to the coronavirus, which was a lie. Teleconferencing was
     our avenue of providing services during the coronavirus. Our DOJ Technical Advisor, Mr. Willis,
     knows we were providing teleconferencing to the participants of this grant. Mr. Willis asked us if
     we wanted to adjust our service delivery for this grant due to the coronavirus. I sent Mr. Dever, Mr.
     Bethea, and Ms. Willis Dr. Wash's email stating we did not have to change or adjust anything
     because we were providing teleconferencing to our participants.

     Check the telephone logs and the signed attendance sheets of the 5 groups at EMAGES, Inc. Dr.
     Wash gave the grant back retaliating against me for filing Whistleblower complaints and DOJ
     accepted Dr. Wash's request terminating my employment, which violates the Whistleblower Act of
     2013. I am leaving this Saturday group teleconferencing call now after being on the call for 42
     minutes.



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     /s/Dr. Fred Nance Jr.
     Ph.D. Health & Human Services
     Social Policy Analysis and Planning             EXHIBIT 5
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                                                           EXHIBIT 5
     Re: Grant #2018-CY-BX-0025

     From: Dr. Fred L Nance Jr., Ph.D. (frednance@clickservices.org)

     To:     tracey.willis@usdoj.gov; jin.liu@usdoj.gov; michael.dever@usdoj.gov

     Cc:     andre.bethea@usdoj.gov; washhattie@gmail.com; dthompson@taftlaw.com; jpierce@taftlaw.com
     Date: Tuesday, December 1, 2020, 10:24 AM CST



     Mr. Dever:

     Thank you Sir. Someone should have contacted me. I canceled other meetings to attend this one.
     Have a blessed and wonderful day.

     /s/Dr. Fred Nance Jr.
     Ph.D. Health & Human Services
     Social Policy Analysis and Planning
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     the message and please delete it from your computer. Thank you.


      On Tuesday, December 1, 2020, 10:18:03 AM CST, Dever, Michael (OJP) <michael.dever@usdoj.gov> wrote:


      Good Morning Dr. Nance,

      Tracey contacted Dr. Wash several weeks ago to say that she will need to re-schedule the in-depth
      monitoring review of the award until early January. I don’t believe a specific date has been set yet.

      Michael

      From: Dr. Fred L Nance Jr., Ph.D. <frednance@clickservices.org>
      Sent: Tuesday, December 1, 2020 11:13 AM
      To: Willis, Tracey (OJP) <Tracey.Willis@ojp.usdoj.gov>; Liu, Jin (OJP) <Jin.Liu@ojp.usdoj.gov>
      Cc: Fred Nance Jr. <frednance@clickservices.org>; Bethea, Andre (OJP)
      <Andre.Bethea@ojp.usdoj.gov>; Dever, Michael (OJP) <Michael.Dever@ojp.usdoj.gov>
      Subject: Grant #2018-CY-BX-0025

      Ms. Willis:

      When does the meeting start? I have joined pursuant to your email at 10:00 am (CST). Please
      respond. Thank you.


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      /s/Dr. Fred Nance Jr.
      Ph.D. Health & Human Services
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